                       Case 2:15-cr-00028-KJM  Document
                                    IN THE UNITED STATES 26 Filed 03/05/15
                                                         DISTRICT  COURT Page 1 of 1
                                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                  Plaintiff,

                          v.                                CR NO: 2:15-CR-0028 KJM

SLAVIC KHUDOY,

                                 Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:        SLAVIC KHUDOY
Detained at              Rio Consumnes Correctional Center
Detainee is:             a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                  charging detainee with:
                  or     b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:           a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                  or     b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                   is currently being served at the detaining facility

                 Appearance is necessary March 11, 2015at 2:00 p.m. in the Eastern District of California.

                         Signature:                               /s/ Matthew G. Morris
                         Printed Name & Phone No:                 MATTHEW G. MORRIS
                         Attorney of Record for:                  United States of America

                                               WRIT OF HABEAS CORPUS
                               ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, on March 11, 2015 at 2:00 p.m., and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.


Dated:    March 4, 2015
                                                               Honorable Allison Claire
                                                               U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                   ☒Male      ☐Female
Booking or CDC #:         X-2852124                                                          DOB:       05/27/1979
Facility Address:         12500 Bruceville Road, Elk Grove, CA                               Race:
Facility Phone:           (916) 874-1927                                                     FBI#:
Currently                 VC 10851(A)

                                                     RETURN OF SERVICE
Executed on:
                                                               (signature)
